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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Deborah Laufer,

                                   Plaintiff,                            ORDER

                 - against -                                             20 Civ. 6229 (NSR)

Tristate Note Repurchase Group LLC,

                                   Defendant.

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Román, D.J.:

                 The Court having been advised that all claims asserted herein have been settled, it

is

                 ORDERED, that the above-entitled action be and hereby is discontinued, without

costs to either party, subject to reopening should the settlement not be consummated within forty-

five (45) days of the date hereof.

                 The parties are advised that if they wish the Court to retain jurisdiction in this matter

for purposes of enforcing any settlement agreement, they must submit the settlement agreement to

the Court within the next 45 days with a request that the agreement be “so ordered” by the Court.



SO ORDERED.



Dated:           White Plains, New York
                 October 21, 2020



                                                                         Nelson S. Román, U.S.D.J.



                      10/21/2020
